Case 1:16-cv-00409-LPS Document 24 Filed 09/13/16 Page 1 of 1 PageID #: 151




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

                                                )
Challenger Trading S.A.,                        )
                                                )      Civil Action No. 1: l 6-cv-00409-LPS
       Plaintiff,                               )
                                                )
v.                                              )      IN ADMIRALTY
                                                )
Valeska Shipping Lines Limited and Aiteo        )
Energy Resources Limited,                       )
                                                )
  Defendants and Garnishee.                     )
~~~~~~~~~~~)

                           ORDER VACATING ATTACHMENT

       At Wilmington this \   ~~y of September, 2016 :
       For the reasons stated on the record at the September 9, 2016 hearing,

       IT IS HEREBY ORDERED that the Motion to Vacate filed by Valeska Shipping Lines

Limited, Aiteo Energy Resources Limited, and Oliver Okafor (D.I . 17) is GRANTED .

       The Court' s prior Order Authorizing Issuance of Writ of Maritime Garnishment in this

matter (D.I. 11), entered on June 3, 2016, is hereb vacated.




                                             HON . LEONARD P. STARK
                                             UNITED STATES DISTRICT COURT
